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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )
         v.                                      )   Criminal Action No. 23-61 (MN)
                                                 )
 ROBERT HUNTER BIDEN,                            )
                                                 )
                       Defendant.                )


                                            ORDER

       At Wilmington, this 31st day of May 2024:
       WHEREAS, on May 24, 2024, the Clerk of the Court posted a Public Notice providing

“Courthouse Logistics for Media and Members of the Public Attending the Pretrial Conference

(May 24, 2024) and the Jury Trial (beginning June 3, 2024) in the matter of The United States of

America v. Robert Hunter Biden” (“the Public Notice”);

       WHEREAS, after the close of business on May 29, 2024, entities referring to themselves

as the “Press Coalition” filed a Motion to Intervene and for In-Person Access to Jury Selection,

requesting the Court address the motion “on an expedited basis before June 3, 2024” (D.I. 192);

       WHEREAS, the motion incorrectly suggests that the Public Notice closed the courtroom

or precluded access to transcripts of the voir dire proceedings when the Public Notice did neither

(D.I. 192 at 5-8);

       WHEREAS, the limitations listed in the Public Notice on access by the public and media

to voir dire are a reflection of the large pool of potential jurors being summoned and the limited

seating in the courtroom;
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        WHEREAS, members of the public and the press have a presumptive right of access to

court proceedings but not a right to interfere with the orderly conduct of such proceedings or to

risk the fair adjudication of the issues to be tried; and

        WHEREAS, the Court will accommodate the rights of the public and the press to the extent

it can do so without interfering with the orderly conduct of voir dire or risking the fair adjudication

of the issues to be tried.

        THEREFORE, IT IS HEREBY ORDERED that the motion (D.I. 192) is GRANTED-IN-

PART and DENIED-IN-PART.

        1.      The motion is granted as to the request to intervene in these proceedings to make

the request. Intervention is an appropriate procedural vehicle for the “Press Coalition” to vindicate

the right of access of the public and press to judicial proceedings. See Pansy v. Borough of

Stroudsburg, 23 F.3d 772, 777 (3d Cir. 1994).

        2.      The motion is granted to the extent that the Court will ask that the Public Notice be

revised to state:

        The Trial is scheduled to begin with jury selection at 8:30 a.m. on Monday,
        June 3, 2024, in Courtroom 4A. Members of the public and media may not be
        present in the courtroom during the time the Court is reading the voir dire
        questions to the jury pool as (given the size of the pool) there is not adequate
        room in the courtroom to do so without interfering with the proceedings. After
        the Court finishes reading the questions, it will direct the entire jury pool to
        another room, opening up seats at the back of Courtroom 4A. Members of the
        jury pool who have answered yes to any voir dire question(s) will be brought
        back into Courtroom 4A one by one for additional questioning. Once the jury
        pool has been escorted out of Courtroom 4A, members of the public and media
        may enter the courtroom and observe the voir dire questioning of individuals.
        The Court will also allow members of the public and media access to
        Courtroom 4A during the exercise of peremptory strikes. Seating for that
        exercise will be limited to designated rows on the left side of the courtroom,
        and thus those occupying a seat on the right side may be asked to move or leave
        to make room for prospective jurors. Members of the public and media not in
        the courtroom during jury selection may listen to those proceedings from the
        overflow room (3rd Floor Jury Assembly Room).



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     Courtroom seating for jury selection and trial will be on a first come, first served
     basis. To ensure fair access to the courtroom, only two members from each news
     outlet will be permitted to sit in the courtroom. To the extent the courtroom does
     not fill to capacity, additional members of news organizations will be allowed entry
     until the courtroom is full. Those not able to attend the trial in the courtroom may
     view the proceedings via video stream in the overflow room in the Court’s 3rd Floor
     Jury Assembly Room.

     3.     The remainder of the Public Notice shall remain in effect.

     4.     The motion is otherwise denied.




                                                  The Honorable Maryellen Noreika
                                                  United States District Judge




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